        Case 1:21-cv-04400-HG-RML Document 1-6 Filed 08/05/21 Page 1 of 1 PageID #: 613

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                               for the
                                                  Eastern District
                                                __________         of of
                                                            District  New  York
                                                                         __________

                   August Wildman, et al.                          )
                                                                   )
                                                                   )
                                                                   )
                             Plaintiff(s)
                                                                   )
                                                                   )
                                  v.                                     Civil Action No. 21-cv-4400
                                                                   )
  DEUTSCHE BANK AKTIENGESELLSCHAFT, et al.                         )
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Deutsche Bank UK
                                       Winchester House
                                       1 Great Winchester Street
                                       London
                                       EC2N 2DB
                                       United Kingdom


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Ryan R. Sparacino
                                       1920 L Street, NW
                                       Suite 535
                                       Washington, DC 20036



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                           %06(-"4$1"-.&3
                                                                           CLERK OF COURT


Date:    08/05/2021
                                                                                      Signature of Clerk or Deputy Clerk
